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CLERK, U.S. DISTRICT COURT
My name is Jennifer Naimo, and I know Darko and Virvina Paviovski from a/Frontiéf airlines) |\\NESOTA
flight Denver-Minneapolis on December 11th.

AFFIDAVIT OF JENNIFER NAIMO

When I boarded the plane, I was situated next to a couple with a baby. Later I learned their
names as Darko and Virvina Pavlovski.They were kind enough to offer me the aisle seat if 1
wanted it, and I also wanted to accommodate them because they had a small child. So, I sat in
my assigned seat which was on the inside (next to the window) of the very last row on the plane.

1 introduced myself to them both as we were all from Minnesota, and I was admiring their child.
I recall the father asking the flight attendant if she had a safety strap for the baby as they have
them in Europe, and he wanted to be able to secure his child on the flight. He was informed by
the flight attendant that they did not have such a strap. Darko had the baby out of the carrier and
was holding him with his arms.

Later, I observed a pregnant woman with a mask and a lanyard came up to Darko and ask him if
he was taking photos and videos of people. This caught my attention because I was talking with
them and there was no videos or photos being taken so I thought it seemed strange.

The pregnant woman with the mask and the lanyard proceeded to tell the father to take off his
baby Bjorn carrier. He had it on, however, the baby was not inside of it. He complied and began
to take it off and asked her why he had to take it off if the baby wasn’t in it. She said that if he
wasn’t going to comply, then they would have to leave the airplane.

As he was taking it off, and putting it underneath his seat the baby started to cry and the pregnant
woman with the mask and the lanyard asked the flight attendants if “ this was going to be a
problem?”. Per my observation, the pregnant women was hinting at the crying baby.

Then, she left. I believe they all were discussing the situation. She proceeded to come back ina
very short amount of time and told the couple that they would have to leave the plane.

I want to point out that at no time neither Darko nor Virvina were raising voices, using profanity,
yelling or being obstructive. Neither I recall anyone grabbing or touching attendant’s badges. In
fact, they both were calm, polite and complying with the requests from the attendants and the
pregnant women.

I was very confused/stunned as to what was taking place, as I’ve never seen anything like that
happen before where nobody was yelling or being disruptive, or doing something that was

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harmful to anybody else, and still was removed from the plane... Worse yet, with a baby and
while being compliant.

I asked before they left if I could get their phone number because I wanted to be a witness to
something that I thought was absolutely absurd.

Thank you very much for your attention!

Yours sincerely,

Jennifer Naimo
2351 Arthur St. NE

Minneapolis,MN, 55418

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This instrument was acknowledged before me on 2t (date) by 0 (name(s) of

person(s) (x
(Seal, if any) Signature of notarial officer
Title (and Rank) My commissiog€xpires: Ct 3 ( 20 QS

